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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                                                RE:    Arcelia ORTEGA
                                                       Docket Number: 1:04CR05066-03
                                                       PERMISSION TO TRAVEL
                                                       OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Mexico. She is current with all supervision
obligations, and the probation officer recommends approval be granted.

Conviction and Sentencing Date: On April 10, 2006, the releasee was sentenced by Your
Honor, following her conviction for a violation of 18 USC 4, Misprision of a Felony.

Sentence imposed: 6 months and 1 day custody of the Bureau of Prisons to be followed by 12
months supervised release. Special conditions include: Search; Financial disclosure; Mental health
treatment; Co-payment for treatment; DNA collection; Home confinement for a period of 180 days.

Dates and Mode of Travel: November 1, 2007, through November 10, 2007. The offender and
her children will be traveling by personal vehicle from Modesto, California, to Tijuana, Mexico.

Purpose: The releasee is requesting permission to travel to Mexico to allow her children to visit
with their father, who is ill.

                                      Respectfully Submitted,

                                        /s/ Sandra K. Dash

                                      SANDRA K. DASH
                                 United States Probation Officer

Dated:        October 23, 2007
              Modesto, California
              SKD:lr

REVIEWED BY:        /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer


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  RE:   Arcelia ORTEGA
        Docket Number: 1:04CR05066-03




ORDER OF THE COURT:

Approved         X                        Disapproved

IT IS SO ORDERED.

Dated: October 23, 2007                 /s/ Oliver W. Wanger
emm0d6                             UNITED STATES DISTRICT JUDGE




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